
99 N.Y.2d 624 (2003)
TODD B. MARSH, Individually and on Behalf of All Others Similarly Situated, Appellant,
v.
PRUDENTIAL SECURITIES INCORPORATED, Respondent.
Court of Appeals of the State of New York.
Submitted January 27, 2003.
Decided March 27, 2003.
Concur: Chief Judge KAYE and Judges SMITH, CIPARICK, WESLEY, ROSENBLATT, GRAFFEO and READ.
Certification of question by the United States Court of Appeals for the Third Circuit, pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
